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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Middle District
                                             __________       of Pennsylvania
                                                         District of __________


                   Parfinim NV, petitioner                     )
                             Plaintiff                         )
                                v.                             )      Case No.     22cv1102
                        Warden Tellez                          )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Parfinim NV (application for admission to the Middle District of Pennsylvania shall be filed shortly)        .


Date:          07/19/2022                                                               /s/ Richard E. Lerner
                                                                                         Attorney’s signature


                                                                                         Richard E. Lerner
                                                                                     Printed name and bar number


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